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 2
 3                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
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 5
                                                       ) No. 3:16-cv-00256-SK
 6   CLEVELAND VICKERS,                                )
                                                       ) ORDER RE INSPECTION
 7                  Plaintiff,                         )
                                                       )
 8           vs.                                       )
     J. C. PENNEY CORPORATION, INC. dba                )
 9                                                     )
     JCPENNEY HILLTOP MALL, et al.,
                                                       )
10                                                     )
                                                       )
11                                                     )
                    Defendants.
                                                       )
12                                                     )
                                                       )
13
14          Upon request of Plaintiff and good cause appearing,
15          IT IS HEREBY ORDERED that the Joint Site Inspection required by the Scheduling
16   Order take place at 9:00 a.m. on June 28, 2016. All other dates triggered by the date of the joint
17   site inspection shall be continued accordingly.
18          IT IS FURTHER ORDERED that the parties must appear for a hearing for this issue
19   on June 29, 2016 at 11:00 a.m.
20
21   IT IS SO ORDERED.
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24   Dated: June 27, 2016
                                                  United States Magistrate Judge
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                                                 ORDER



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